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            Exhibit 4
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From: BatteryPark.TV
Sent: Friday, December 5, 2014 3:13 PM
To: Hyman, Shari
Subject: BPCA employees all absent



Shari Hyman

Ms. Hyman

I just called you on your cell and you hung up on me as I was trying to tell you that many of your

employees are not in the office today. Robin Forst, for example, is paid a lot of money to be in

the office. I recorded the call whereby you hung up the phone.

In addition to Forst apparently not being in the office at 2:00 PM, Kevin McCabe, Brenda

McIntyre, Sema Singh, and Dennis Mehiel were also all absent.




Steven Greer, MD
BatteryPark.TV
(212) 945-7252
steve@batterypark.tv

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